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&lt;div&gt; &lt;/div&gt;
&lt;div&gt;SUMMARY &lt;/div&gt;
&lt;div&gt;October 3, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;2024COA108&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;No. 23CA1030, Norton v. Ruebel &lt;span&gt;â&lt;/span&gt; Attorneys and Clients &lt;span&gt;â&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Retaining Liens &lt;span&gt;â&lt;/span&gt; Other Property to Which Lien Attaches &lt;span&gt;â&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Papers in Attorneyâs Possession&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;A division of the court of appeals interprets section 1&lt;span&gt;&lt;/span&gt;3-&lt;span&gt;93&lt;/span&gt;-115, &lt;/div&gt;
&lt;div&gt;C.R.S. 2024, which grants an attorney a retaining lien on a &lt;/div&gt;
&lt;div&gt;nonpaying clientâs papers &lt;span&gt;that have come into &lt;/span&gt;the attorneyâs&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â&lt;span&gt;possession in the course of his or her professional empl&lt;span&gt;&lt;/span&gt;oyment&lt;span&gt;â&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and &lt;span&gt;âupon &lt;/span&gt;money due to his or her client in the hands of the &lt;/div&gt;
&lt;div&gt;adverse party in an action or proceeding in which the attorney wa&lt;span&gt;&lt;/span&gt;s &lt;/div&gt;
&lt;div&gt;employed&lt;span&gt;.â  The division holds that an attorneyâs release of &lt;span&gt;&lt;/span&gt;certain, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;but not all, of the documents covered by a retaining lien do&lt;span&gt;&lt;/span&gt;es not &lt;/div&gt;
&lt;div&gt;result in a waiver of the entire lien.  The division also holds t&lt;span&gt;&lt;/span&gt;hat the &lt;/div&gt;
&lt;div&gt;public policy grounds for not enforcing a retaining lien &lt;span&gt;&lt;/span&gt;noted in &lt;/div&gt;
&lt;div&gt;federal case law and Colorado Bar Association Ethic&lt;span&gt;&lt;/span&gt;s Committee &lt;/div&gt;
&lt;/div&gt;
&lt;div&gt;
&lt;div&gt;The summaries of the Colorado Court of Appeals published opinions &lt;/div&gt;
&lt;div&gt;constitute no part of the opinion of the division but have been prepared by &lt;/div&gt;
&lt;div&gt;the division for the convenience of the reader.  The summaries may not be &lt;/div&gt;
&lt;div&gt;cited or relied upon as they are not the &lt;span&gt;official language of the division. &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Any discrepancy between the language in the summary and in the opinion &lt;/div&gt;
&lt;div&gt;should be resolved in favor of the language in the opinion. &lt;/div&gt;
&lt;/div&gt;
&lt;/div&gt;
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&lt;div&gt;Formal Opinion 82 are not inconsistent with the retaining lien &lt;/div&gt;
&lt;div&gt;statute.   &lt;/div&gt;
&lt;div&gt;The division reverses the &lt;span&gt;district courtâs grant of summary &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;judgment to the defendant attorney and remands the &lt;span&gt;&lt;/span&gt;case for &lt;/div&gt;
&lt;div&gt;reconsideration of the plaintiffsâ requests for files that &lt;span&gt;&lt;/span&gt;the attorney &lt;/div&gt;
&lt;div&gt;contends are covered by a retaining lien. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;img alt="" src="https://icbg.s3.amazonaws.com/media/MMM/QIq/MMMQIqBVII3PlBlouQCB0EfyXTK4RjluWhn24tbThfIiA%3D?AWSAccessKeyId=ASIA5PHC3MTP6OCR6RD7&amp;amp;Expires=1728803054&amp;amp;Signature=PRnviYtzbKolkYXLXK5LhGCKJfU%3D&amp;amp;x-amz-security-token=IQoJb3JpZ2luX2VjEF4aCXVzLWVhc3QtMSJGMEQCIGRhCWgNGQarvA9IxR5tcxmnHddvL1QSwTu0GzF8hvd1AiAap6%2B6iRgHXAK5RSAsNJq4OOwfjzA%2FcKxbGYrvEEmNUyq6BQi3%2F%2F%2F%2F%2F%2F%2F%2F%2F%2F8BEAAaDDkyNjA0MTIwMzkzNSIMkCgl3IoyE8RLtY%2BjKo4F7pOAFRDcBcCdq%2BjPAMygTR4bF8Ga%2FO7hzTUDieNE04DV%2FlI%2Fuv0pKhS9BUzSPJtfNcs904cY%2FFjTe2ib%2F%2BU62YABP1PmZyrEcHAFnXgjMinz5qlJchwKLD7VBdwo8xiFTWaeqXtcfU1qd8KcEJTnk9TwMv6oD6%2F79zP7OUgd5BEFEkfE%2BOkN%2BJQ2r0uQxX4WIsv2u6R99n%2BcfRLfEK%2Fe%2FZRMIhlHPQmu40mzsbznyAWfOqgO4DzwC8oxStbymYdxpxLTdMe0rHuChKr%2BCyOc72VTPH6inNdE7t%2FUYXOY1O%2BGO9SkeJz0TR9RWF4cQ5kN1P5bK1jcWVl9qHdLXQgoGsoLmpRpB8H9CLU%2BHiNdU9XZOwKEpcRlxpAdnjR2mCbZJVXMPIr4C8xLcy0gto0BzTw0YiL7NqXtmQYGwIs7areAgWXRQwFGnE%2Bobhc0jBQR5SnxKVgaFoDvOUo9A8%2BsKzapVegbkHqifkCBb59e6LyloMDGAicgivwfRgXmLAxkURiTmKsrAj7V2Y2L2yRzfMvbduHROcvvtYoeX7lETEWjgWFRy2XmiUDl6H%2BRRQcISmP7qOFU2sbv4Sr2MihHu0sPIqs9t9WW1ZDuUeattgKcv1gLHiTroYluxmOIT9HhB8x7uZfauz4tIcuqGbMAHt9gtLZYTn4n83D3VBipiXWgCo9Ucv736EqOaMXfFT59e%2Fn4kDlnJd1ej4aCUBSUJc5w7B6uxo9Z7JrV6uk2%2B0SvgkNNZcHJZ7O1qavWed%2B7ip2bMGsOOiQOpWrx1gJ0huj5ItUy%2F3AUttpMwM9q8PRMM9HI803nWeOKwLGy%2FXifF6ZObfK2LZihmCGsekqTlndYO5u4x5c68OGDaM9yMK28rbgGOrIBVzJNpq8LzKu3xjWxAMOfA9GllGABzT6nDOYpFLoL3FjYVyhLokG9nst0umPhYW81qWItBKfUj4TxVmyceK41QkxYGyavWZxDEsuX3MACYh53a8c2aH7IKor0jwPhs0hKNIQ%2Fgdw%2BhIimQ63sP9lrVfvnXp%2FrmOvGwjVNgVVE6Aqc2XVVxs5edJ5epLUYWKcE3mBJdncUNOGBr8fVzJdn6Oq4hzVlH2te%2Bko7%2BFtCrYw87Q%3D%3D"&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;COLORADO COURT OF APPEALS                                                &lt;span&gt;2024COA108&lt;/span&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Court of Appeals No. 23CA1030 &lt;/div&gt;
&lt;div&gt;Adams County District Court No. 21CV31338 &lt;/div&gt;
&lt;div&gt;Honorable Teri L. Vasquez, Judge &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Michelle Norton and Brandon Thompson, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Plaintiffs-Appellants, &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;v. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Jeffrey Clay Ruebel, Esq. and Ruebel &amp;amp; Quillen, LLC, a Colorado limited &lt;/div&gt;
&lt;div&gt;liability &lt;span&gt;company, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Defendants-Appellees. &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;JUDGMENT REVERSED AND CASE &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;REMANDED WITH DIRECTIONS&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Division VI &lt;/div&gt;
&lt;div&gt;Opinion by JUDGE &lt;span&gt;LIPINSKY&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Freyre&lt;span&gt; and Schutz, JJ., concur &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Announced October 3, 2024 &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;Preeo Silverman Green &amp;amp; Egle, P.C., &lt;span&gt;Eldon E. Silverman&lt;/span&gt;, Centennial, Colorado; &lt;/div&gt;
&lt;div&gt;Burg Simpson Eldredge Hersh &amp;amp; Jardine, P.C., D. Dean Batchelder, &lt;/div&gt;
&lt;div&gt;Englewood&lt;span&gt;, Colorado, for Plaintiffs-Appellants &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;McConnell Van Pelt, LLC, Michael T. McConnell, &lt;span&gt;Kellsey A. Hansen&lt;/span&gt;, Denver, &lt;/div&gt;
&lt;div&gt;Colorado, for Defendants-Appellees &lt;/div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;/div&gt;
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&lt;div&gt; &lt;/div&gt;
&lt;div&gt;1 &lt;/div&gt;
&lt;div&gt;Â¶ 1&lt;span&gt; &lt;/span&gt;&lt;span&gt;Attorneys are generally entitled to receive payment for their &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;services.  Abraham Lincoln, a legendary litigator as well as one of &lt;/div&gt;
&lt;div&gt;our countryâs &lt;span&gt;great&lt;span&gt;est&lt;/span&gt;&lt;span&gt; presidents&lt;span&gt;, &lt;/span&gt;acknowledged that there &lt;span&gt;is&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;nothing &lt;span&gt;cr&lt;/span&gt;ass or dishonorable in &lt;span&gt;an attorneyâs &lt;/span&gt;efforts &lt;span&gt;to&lt;/span&gt; receive &lt;/div&gt;
&lt;div&gt;payment for services rendered&lt;span&gt;: &lt;/span&gt;&lt;span&gt;â&lt;/span&gt;The matter of fees is important, . . . &lt;/div&gt;
&lt;div&gt;far beyond the mere question of bread and butter involved.  &lt;/div&gt;
&lt;div&gt;Properly attended to, fuller justice is done to both lawyer an&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;client.&lt;span&gt;â&lt;/span&gt;&lt;span&gt;  &lt;span&gt;Harry E. Pratt, &lt;span&gt;Personal Finances of Abraham Lincoln&lt;/span&gt;, at &lt;span&gt;25 &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(1943), https://perma.cc/KW8Q. &lt;/div&gt;
&lt;div&gt;Â¶ 2&lt;span&gt; &lt;/span&gt;&lt;span&gt;But payment of an attorney&lt;span&gt;âs&lt;/span&gt; &lt;span&gt;fees is not always â[p]roper&lt;/span&gt;&lt;span&gt;l&lt;/span&gt;&lt;span&gt;y &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;attended to.â  &lt;span&gt;Id.&lt;/span&gt;&lt;span&gt;  &lt;span&gt;For this reason, the Colorado General A&lt;span&gt;&lt;/span&gt;ssembly &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;enacted two statutes that authorize lawyers to place liens on &lt;span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;nonpaying clientâs property, files, and &lt;span&gt;funds, sections &lt;span&gt;13&lt;span&gt;-&lt;span&gt;93&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;-114 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and -115, C.R.S. 2024.  This case concerns the latter statute&lt;span&gt;, &lt;/span&gt;which &lt;/div&gt;
&lt;div&gt;grants a lawyer a retaining lien on &lt;span&gt;â&lt;/span&gt;any papers of his or her client&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;that have come into his or her possession in the course of &lt;span&gt;&lt;/span&gt;his or her &lt;/div&gt;
&lt;div&gt;professional employment&lt;span&gt;â&lt;/span&gt; and &lt;span&gt;â&lt;/span&gt;upon money due to his or he&lt;span&gt;&lt;/span&gt;r client &lt;/div&gt;
&lt;div&gt;in the hands of the adverse party in an action or proceeding in &lt;/div&gt;
&lt;div&gt;which the attorney was employed&lt;span&gt;.â  Â§ 13&lt;/span&gt;&lt;span&gt;-&lt;span&gt;93&lt;/span&gt;&lt;/span&gt;-115. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;div&gt; &lt;/div&gt;
&lt;div&gt;2 &lt;/div&gt;
&lt;div&gt;Â¶ 3&lt;span&gt; &lt;/span&gt;&lt;span&gt;Few published cases have interpret&lt;span&gt;ed&lt;/span&gt; the Colorado retaining &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;lien statute, however. &lt;/div&gt;
&lt;div&gt;Â¶ 4&lt;span&gt; &lt;/span&gt;&lt;span&gt;In this case, we explore various issues relating to retaining &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;liens and, among other holdings, decide that the release of certain,&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;but not all, of the documents covered by such a lien does not res&lt;span&gt;&lt;/span&gt;ult &lt;/div&gt;
&lt;div&gt;in a waiver of the entire lien.&lt;span&gt;  &lt;/span&gt;In addition, we provide guidance to &lt;/div&gt;
&lt;div&gt;the district court in determining the enforceability of the &lt;span&gt;&lt;/span&gt;retaining &lt;/div&gt;
&lt;div&gt;lien that is the principal subject of this appeal. &lt;/div&gt;
&lt;div&gt;Â¶ 5&lt;span&gt; &lt;/span&gt;&lt;span&gt;Plaintiffs, Michelle Norton and Brandon Thompson (jointly, &lt;span&gt;&lt;/span&gt;the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Norton parties), appeal the district &lt;span&gt;courtâs order granting &lt;span&gt;&lt;/span&gt;summary &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;judgment in favor of defendants, Jeffrey Clay Ruebel, Esq., and &lt;/div&gt;
&lt;div&gt;Ruebel &amp;amp; Quillen, LLC, a Colorado limited liability company &lt;/div&gt;
&lt;div&gt;engaged in the practice of law (jointly, Ruebel).  In addition to &lt;/div&gt;
&lt;div&gt;challenging the grant of summary judgment to Ruebel, t&lt;span&gt;&lt;/span&gt;he Norton &lt;/div&gt;
&lt;div&gt;parties argue that the court erred by denying their requests for &lt;/div&gt;
&lt;div&gt;production of Ruebelâs files &lt;span&gt;(the subject files) regarding One Stop &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Construction and Landscapes, Inc.&lt;span&gt;  &lt;/span&gt;Ruebel contends that he had &lt;/div&gt;
&lt;div&gt;the right to withhold production of the subject files to the &lt;span&gt;&lt;/span&gt;Norton &lt;/div&gt;
&lt;div&gt;parties because he had placed a retaining lien on them. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;3 &lt;/div&gt;
&lt;div&gt;Â¶ 6&lt;span&gt; &lt;/span&gt;&lt;span&gt;We reverse the grant of summary judgment to Ruebel and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;remand for further proceedings consistent with t&lt;span&gt;&lt;/span&gt;his opinion. &lt;/div&gt;
&lt;div&gt;I.&lt;span&gt; &lt;span&gt;Background and Procedural History &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 7&lt;span&gt; &lt;/span&gt;&lt;span&gt;Although the Norton parties pleaded detailed facts regarding &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;several related transactions, we set forth here only those allegati&lt;span&gt;&lt;/span&gt;ons &lt;/div&gt;
&lt;div&gt;relevant to our analysis.   &lt;/div&gt;
&lt;div&gt;Â¶ 8&lt;span&gt; &lt;/span&gt;&lt;span&gt;The Norton parties purchased stock in One Stop, a corpo&lt;span&gt;&lt;/span&gt;ration &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that Ruebel represented and that Jesse Alfaro owned. &lt;span&gt;&lt;/span&gt; The Norton &lt;/div&gt;
&lt;div&gt;parties subsequently became the controlling shareholders, off&lt;span&gt;&lt;/span&gt;icers, &lt;/div&gt;
&lt;div&gt;and directors of One Stop.  One Stop defaulted on a $2.&lt;span&gt;&lt;/span&gt;5 million &lt;/div&gt;
&lt;div&gt;line of credit from Bank of Colorado, which the Norton parties an&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;Alfaro had guaranteed.  One Stop and the guarantors entered into &lt;span&gt;&lt;/span&gt;a &lt;/div&gt;
&lt;div&gt;forbearance agreement that, among other provisions, increased the &lt;/div&gt;
&lt;div&gt;interest rate on the amount due to Bank of Colorado.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 9&lt;span&gt; &lt;/span&gt;&lt;span&gt;Counsel for Bank of Colorado subsequently informe&lt;span&gt;&lt;/span&gt;d Ruebel &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that One Stop was in default of the line of credit.  The attorney &lt;/div&gt;
&lt;div&gt;asked Ruebel which borrowers and guarantors he represente&lt;span&gt;&lt;/span&gt;d.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Ruebel informed counsel for Bank of Colorado that he re&lt;span&gt;&lt;/span&gt;presented &lt;/div&gt;
&lt;div&gt;One Stop, Alfaro, and the Norton parties, and he negotiated on their &lt;/div&gt;
&lt;div&gt;behalf an addendum to the forbearance agreement. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;/div&gt;
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&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;4 &lt;/div&gt;
&lt;div&gt;Â¶ 10&lt;span&gt; &lt;/span&gt;&lt;span&gt;Pursuant to the addendum, an entity known as SALMAC LLC &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and Robert McAllister purchased the assets of One Stop in &lt;/div&gt;
&lt;div&gt;exchange for a $2.6 million promissory note payable to One Stop.&lt;span&gt;  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;The note was endorsed to Bank of Colorado.  SALMAC and &lt;/div&gt;
&lt;div&gt;McAllister agreed to pay $900,000 to Bank of Colorado in mont&lt;span&gt;&lt;/span&gt;hly &lt;/div&gt;
&lt;div&gt;installments and endorsed the note secondarily to OSC Holdings, &lt;/div&gt;
&lt;div&gt;LLC&lt;span&gt;, which would receive SALMAC and McAllisterâs month&lt;/span&gt;&lt;span&gt;ly&lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;payments after Bank of Colorado had been paid in full. &lt;/div&gt;
&lt;div&gt;Â¶ 11&lt;span&gt; &lt;/span&gt;&lt;span&gt;After SALMAC and McAllister stopped making payments on &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the note, Bank of Colorado filed a lawsuit seeking replevin and &lt;/div&gt;
&lt;div&gt;money judgments against, among other defendants, One Stop, OSC &lt;/div&gt;
&lt;div&gt;Holdings, and Alfaro.  The Norton parties were not parties t&lt;span&gt;&lt;/span&gt;o Bank &lt;/div&gt;
&lt;div&gt;of Coloradoâs lawsuit&lt;span&gt;.  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 12&lt;span&gt; &lt;/span&gt;&lt;span&gt;In that lawsuit, Bank of Colorado obtained a money judgment &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;against One Stop (as well as against certain of the other defend&lt;span&gt;&lt;/span&gt;ants) &lt;/div&gt;
&lt;div&gt;in the amount of $912,213.82.  According to the Norton &lt;span&gt;&lt;/span&gt;parties, &lt;/div&gt;
&lt;div&gt;after Bank of Colorado took steps to enforce its judgment&lt;span&gt;&lt;/span&gt;, One Stop &lt;/div&gt;
&lt;div&gt;was left with no assets and was dissolved.   &lt;/div&gt;
&lt;div&gt;Â¶ 13&lt;span&gt; &lt;/span&gt;&lt;span&gt;The Norton parties, in their individual capacities, brought a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;legal malpractice action against Ruebel, asserting negligence an&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf8" data-page-no="8"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;5 &lt;/div&gt;
&lt;div&gt;breach of fiduciary duty claims.  In their complaint, the Norton &lt;/div&gt;
&lt;div&gt;parties asserted&lt;span&gt;, &lt;/span&gt;as relevant here, that &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Ruebel had acted as their attorney;  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;in response to the Norton partiesâ inquiries, Ruebel &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;misrepresented One Stopâs financial condition; &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Ruebel failed to protect the Norton partiesâ interests; &lt;span&gt; &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;Ruebel represented both Alfaro as seller and the Nort&lt;span&gt;&lt;/span&gt;on &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;parties as buyers in connection with the Norton partiesâ &lt;/div&gt;
&lt;div&gt;purchase of stock in One Stop; and  &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;the Norton parties lost nearly their entire investment in &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;One Stop as a consequence of Ruebelâs misconduct.  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 14&lt;span&gt; &lt;/span&gt;&lt;span&gt;The Norton parties sought a judgment in the amount of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;approximately $1.4 million &lt;span&gt;â&lt;/span&gt; representing the sum they allegedly &lt;/div&gt;
&lt;div&gt;lost through their investment in One Stop. &lt;/div&gt;
&lt;div&gt;Â¶ 15&lt;span&gt; &lt;/span&gt;&lt;span&gt;During the litigation, the Norton parties requested that &lt;span&gt;&lt;/span&gt;Ruebel &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;produce the subject files.  Ruebel refused to do so.  In a letter from &lt;/div&gt;
&lt;div&gt;Ruebelâs counsel to counsel for the Norton parties, Ruebel as&lt;span&gt;&lt;/span&gt;serted &lt;/div&gt;
&lt;div&gt;a retaining lien against the subject files under section 13-&lt;span&gt;93&lt;/span&gt;-115 on &lt;/div&gt;
&lt;div&gt;the grounds &lt;span&gt;that âOne Stop owes [Ruebel] approximately&lt;span&gt;&lt;/span&gt; $100,000 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;in unpaid legal fees.â  Notably, Ruebelâs counsel stated in the lett&lt;span&gt;&lt;/span&gt;er &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf9" data-page-no="9"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;6 &lt;/div&gt;
&lt;div&gt;that the Norton parties did not have an attorney-client relationshi&lt;span&gt;&lt;/span&gt;p &lt;/div&gt;
&lt;div&gt;with Ruebel but, rather, were âconstituentsâ&lt;span&gt; (i.e., officers and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;directors) of One Stop, &lt;span&gt;Ruebelâs client.  Ruebelâs counsel did not &lt;span&gt;&lt;/span&gt;say &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;in the letter that the Norton parties owed Ruebel any attorney f&lt;span&gt;&lt;/span&gt;ees.   &lt;/div&gt;
&lt;div&gt;Â¶ 16&lt;span&gt; &lt;/span&gt;&lt;span&gt;The Norton parties filed a notice of discovery dispute in wh&lt;span&gt;&lt;/span&gt;ich &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;they moved for a determination of the effect of the retaining &lt;span&gt;&lt;/span&gt;lien on &lt;/div&gt;
&lt;div&gt;the&lt;span&gt;ir&lt;/span&gt;&lt;span&gt; request for the subject files.  The Norton parties argued t&lt;span&gt;&lt;/span&gt;hat &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Ruebel âwaived any claim to a retaining lienâ in August 2020 wh&lt;span&gt;&lt;/span&gt;en, &lt;/div&gt;
&lt;div&gt;at Michelle Nortonâs request, Ruebel provided her with a porti&lt;span&gt;&lt;/span&gt;on of &lt;/div&gt;
&lt;div&gt;the subject files &lt;span&gt;â&lt;/span&gt; &lt;span&gt;â289 emails with voluminous attachments &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;covering a [s&lt;span&gt;ix&lt;/span&gt;-month period] during pivotal periods of joint &lt;/div&gt;
&lt;div&gt;representationâ (the 2020 documents) â&lt;span&gt; without claiming that the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;2020 documents were subject to a retaining lien.  Th&lt;span&gt;&lt;/span&gt;e Norton &lt;/div&gt;
&lt;div&gt;parties also argued that Ruebel should âotherwise be &lt;span&gt;&lt;/span&gt;prohibited &lt;/div&gt;
&lt;div&gt;from asserting the lienâ as a âswordâ to âfrustrate the discov&lt;span&gt;&lt;/span&gt;ery &lt;/div&gt;
&lt;div&gt;process.&lt;span&gt;â  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 17&lt;span&gt; &lt;/span&gt;&lt;span&gt;At a hearing on the discovery dispute, the Norton parties al&lt;span&gt;&lt;/span&gt;so &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;argued that, even in the absence of a waiver, the court should n&lt;span&gt;&lt;/span&gt;ot &lt;/div&gt;
&lt;div&gt;enforce Ruebelâs retaining lien because they and One St&lt;span&gt;&lt;/span&gt;op were &lt;/div&gt;
&lt;div&gt;financially unable to pay Ruebelâs unpaid fees.  The Norton &lt;span&gt;&lt;/span&gt;par&lt;span&gt;ties &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfa" data-page-no="a"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;7 &lt;/div&gt;
&lt;div&gt;requested an evidentiary hearing to address the factual basis for &lt;/div&gt;
&lt;div&gt;their asserted inability to pay the outstanding fees.   &lt;/div&gt;
&lt;div&gt;Â¶ 18&lt;span&gt; &lt;/span&gt;&lt;span&gt;Ruebel responded that he had not waived the retaining lien &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;when he provided the 2020 documents to Michelle Norton be&lt;span&gt;&lt;/span&gt;cause &lt;/div&gt;
&lt;div&gt;he disclosed those documents to her in her capacity as h&lt;span&gt;&lt;/span&gt;is &lt;/div&gt;
&lt;div&gt;âcorporate clientâs officer[] during the course of representation&lt;span&gt;&lt;/span&gt;â &lt;/div&gt;
&lt;div&gt;before t&lt;span&gt;he fee dispute arose and that the Norton partiesâ âsw&lt;span&gt;&lt;/span&gt;ordâ &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;argument fail&lt;span&gt;ed&lt;/span&gt; because the court never found that Ruebel had &lt;/div&gt;
&lt;div&gt;engaged in any misconduct.   &lt;/div&gt;
&lt;div&gt;Â¶ 19&lt;span&gt; &lt;span&gt;At the conclusion of the hearing, the court found âthere &lt;span&gt;[w&lt;span&gt;a]&lt;span&gt;s &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;an appropriate and valid retaining lien on the files of One St&lt;span&gt;&lt;/span&gt;op held &lt;/div&gt;
&lt;div&gt;by [Ruebel]â; that the lien had ânot been waived or lost ba&lt;span&gt;&lt;/span&gt;sed on &lt;/div&gt;
&lt;div&gt;any of the arguments asserted by [the Norton parties]â; and &lt;span&gt;&lt;/span&gt;that, if &lt;/div&gt;
&lt;div&gt;Ruebel would not produce the subject files, âthen&lt;span&gt; no part of that&lt;span&gt;&lt;/span&gt; file &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;w[ould] be permitted usable by either party in this case, &lt;span&gt;&lt;/span&gt;either in &lt;/div&gt;
&lt;div&gt;pursuit or defense of their claims.â  The court also denied t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;Norton partiesâ request for an evidentiar&lt;span&gt;y hearing.   &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 20&lt;span&gt; &lt;/span&gt;&lt;span&gt;The Norton parties later filed a second notice of discovery &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;dispute regarding their request for production of the &lt;span&gt;&lt;/span&gt;subject files, in &lt;/div&gt;
&lt;div&gt;which they argued that âtwo recent developments provide[d] &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfb" data-page-no="b"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;8 &lt;/div&gt;
&lt;div&gt;grounds for an order requiringâ Ruebel to produce the su&lt;span&gt;&lt;/span&gt;bject files.  &lt;/div&gt;
&lt;div&gt;The Norton parties argued that, even if Ruebel had a valid retaining&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;lien at one time, he âwaived it by designating [Jeffrey Clay Ruebel] &lt;/div&gt;
&lt;div&gt;as an expert for trialâ and by âdisclosing a document from the f&lt;span&gt;&lt;/span&gt;ile,â &lt;/div&gt;
&lt;div&gt;thus opening the door to production of the subject files to t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;Norton parties.  Ruebel responded that he was not relying on the &lt;/div&gt;
&lt;div&gt;subject files for Jeffrey Clay Ruebelâs expert testimony and that&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Ruebel had received the document to which the Norton parties &lt;/div&gt;
&lt;div&gt;referred only after the inception of the case.  The court con&lt;span&gt;&lt;/span&gt;ducted &lt;/div&gt;
&lt;div&gt;another hearing on the retaining lien issue and again found in f&lt;span&gt;&lt;/span&gt;avor &lt;/div&gt;
&lt;div&gt;of Ruebel.  Thus, the Norton parties were unable to obtain t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;subject files. &lt;/div&gt;
&lt;div&gt;Â¶ 21&lt;span&gt; &lt;/span&gt;&lt;span&gt;Ruebel filed a motion for summary judgment, arguing that &lt;span&gt;&lt;/span&gt;the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Norton partiesâ claims failed as a matter of law because t&lt;span&gt;&lt;/span&gt;hey could &lt;/div&gt;
&lt;div&gt;not establish that Ruebelâs conduct caused them damages.&lt;span&gt;  &lt;span&gt;The &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;court granted the motion and entered summary judgment against&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;the Norton parties. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfc" data-page-no="c"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;9 &lt;/div&gt;
&lt;div&gt;II.&lt;span&gt; &lt;span&gt;Analysis &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;A.&lt;span&gt; &lt;span&gt;The Retaining Lien &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 22&lt;span&gt; &lt;span&gt;We first address the Norton partiesâ arguments regarding &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Ruebelâs retaining lien and &lt;span&gt;the subject files. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 23&lt;span&gt; &lt;/span&gt;&lt;span&gt;The Norton parties contend that the court erred by &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âconcluding that Ruebelâs assertion of a retaining lien against &lt;span&gt;&lt;/span&gt;One &lt;/div&gt;
&lt;div&gt;Stop preempts all &lt;span&gt;discoveryâ regarding the subject files. &lt;span&gt;&lt;/span&gt; The Norton &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;parties ask us to reverse the courtâs orders denying t&lt;span&gt;&lt;/span&gt;heir request&lt;span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;for production of the subject files and to remand for &lt;span&gt;&lt;/span&gt;further &lt;/div&gt;
&lt;div&gt;proceedings. &lt;/div&gt;
&lt;div&gt;Â¶ 24&lt;span&gt; &lt;/span&gt;&lt;span&gt;We hold that the court did not apply the correct legal standard &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;when analyzing whether Ruebelâs retaining lien precluded &lt;/div&gt;
&lt;div&gt;production of the subject files to the Norton parties&lt;span&gt;.  B&lt;/span&gt;ecause &lt;/div&gt;
&lt;div&gt;documents contained in the subject files may be relevant t&lt;span&gt;&lt;/span&gt;o the &lt;/div&gt;
&lt;div&gt;issue of causation (as well as &lt;span&gt;to the Norton partiesâ cross&lt;/span&gt;-&lt;/div&gt;
&lt;div&gt;examination of Jeffrey Clay Ruebel in his capacity as an expert), we &lt;/div&gt;
&lt;div&gt;reverse the grant of summary judgment to Ruebel, a&lt;span&gt;&lt;/span&gt;s we discuss &lt;/div&gt;
&lt;div&gt;further &lt;span&gt;infra&lt;/span&gt; Part II.B, and remand for further consideration of the &lt;/div&gt;
&lt;div&gt;No&lt;span&gt;rton partiesâ request&lt;span&gt;s for the subject files, consistent&lt;span&gt;&lt;/span&gt; with this &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;opinion&lt;span&gt;.  &lt;span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfd" data-page-no="d"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;10 &lt;/div&gt;
&lt;div&gt;1.&lt;span&gt; &lt;span&gt;Standard of Review &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 25&lt;span&gt; &lt;span&gt;We review the courtâs interpretation and application of t&lt;span&gt;&lt;/span&gt;he &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;retaining lien statute and case law de novo.  &lt;span&gt;See Gallegos v. Colo. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Ground Water Comm&lt;span&gt;â&lt;/span&gt;&lt;span&gt;n&lt;/span&gt;&lt;span&gt;, 147 P.3d 20, 28 (Colo. 2006)&lt;span&gt;&lt;/span&gt;.  We review &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;discovery rulings &lt;span&gt;â&lt;/span&gt; including decisions about production of &lt;span&gt;&lt;/span&gt;files &lt;/div&gt;
&lt;div&gt;subject to a retaining lien &lt;span&gt;â&lt;/span&gt; for an abuse of discretion.&lt;span&gt;&lt;/span&gt;  &lt;span&gt;See In re &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;People in Interest of J.P.&lt;span&gt;, 2023 CO 57, Â¶ 17, 538 P.3d 337, &lt;span&gt;&lt;/span&gt;343; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Jenkins v. Dist. Ct.&lt;span&gt;, 676 P.2d 1201, 1203 (Colo. 1984).  A court &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;abuses its discretion if its decision is manifestly arbitrary, &lt;/div&gt;
&lt;div&gt;unreasonable, or unfair or when it misapplies or misconst&lt;span&gt;&lt;/span&gt;rues the &lt;/div&gt;
&lt;div&gt;law.  &lt;span&gt;J.P.&lt;/span&gt;&lt;span&gt;, Â¶&lt;/span&gt; 17, 538 P.3d at 343. &lt;/div&gt;
&lt;div&gt;2.&lt;span&gt; &lt;span&gt;The Law Governing Retaining Liens &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 26&lt;span&gt; &lt;span&gt;An attorney has a statutory right to retain âany papersâ &lt;span&gt;&lt;/span&gt;of his &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;client that come into his possession in the course of his &lt;/div&gt;
&lt;div&gt;professional employment until compensation is paid. &lt;span&gt;&lt;/span&gt; Â§ &lt;span&gt;13&lt;/span&gt;&lt;span&gt;-&lt;span&gt;93&lt;/span&gt;&lt;/span&gt;-115.  &lt;/div&gt;
&lt;div&gt;This retaining lien attaches once the attorney âhas complete&lt;span&gt;&lt;/span&gt;d &lt;/div&gt;
&lt;div&gt;compe&lt;span&gt;nsable work.â  &lt;span&gt;People ex rel. MacFarlane v. Hart&lt;span&gt;&lt;/span&gt;hun&lt;span&gt;, 581 P.2d &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;716, 718 (Colo. 1978).  It allows the attorney to retain &lt;span&gt;&lt;/span&gt;the clientâs &lt;/div&gt;
&lt;div&gt;âpapers, books, documents, securities, and moneyâ unt&lt;span&gt;&lt;/span&gt;il âthe &lt;/div&gt;
&lt;div&gt;general balance due him for legal services is paid, whether s&lt;span&gt;&lt;/span&gt;uch &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pfe" data-page-no="e"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;11 &lt;/div&gt;
&lt;div&gt;services grew out of the special matters then in his hands, o&lt;span&gt;&lt;/span&gt;r other &lt;/div&gt;
&lt;div&gt;legal matters.â  &lt;span&gt;Collins v. Thuringer&lt;span&gt;, 21 P.2d 709, 710 (Colo. 19&lt;span&gt;&lt;/span&gt;33).  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;The purpose of the retaining lien is to aid the attorney in &lt;span&gt;&lt;/span&gt;recovering &lt;/div&gt;
&lt;div&gt;the fees and costs due him for the services performed &lt;span&gt;&lt;/span&gt;for the client.  &lt;/div&gt;
&lt;div&gt;See In re &lt;span&gt;Attây G.&lt;span&gt;, 2013 CO 27, Â¶ 16, 302 P.3d 248, 251; &lt;/span&gt;&lt;/span&gt;&lt;span&gt;accord&lt;/span&gt;&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Pomerantz v. Schandler&lt;span&gt;, 704 F.2d 681, 683 (2d Cir. 198&lt;span&gt;&lt;/span&gt;3) (âThe &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;purpose of the lien is to assist the attorney in prevent&lt;span&gt;&lt;/span&gt;ing a client &lt;/div&gt;
&lt;div&gt;from refusing or failing to pay ch&lt;span&gt;arges justly due.â).&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 27&lt;span&gt; &lt;/span&gt;&lt;span&gt;Although section 13-&lt;span&gt;93&lt;/span&gt;-115 does not address circumstances &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;under which a court will not enforce a retaining lien&lt;span&gt;, &lt;/span&gt;the Tenth &lt;/div&gt;
&lt;div&gt;Circuit Court of Appeals and the Ethics Committee of the Colora&lt;span&gt;&lt;/span&gt;do &lt;/div&gt;
&lt;div&gt;Bar Association noted that courts will not enforce retaining liens for &lt;/div&gt;
&lt;div&gt;reasons &lt;span&gt;âgrounded on public policy.â  &lt;span&gt;Jenkins v. Weinshienk&lt;/span&gt;&lt;/span&gt;, 670 &lt;/div&gt;
&lt;div&gt;F.2d 915, 919 (10th Cir. 1982); Colo. Bar Assân Ethics Comm.,&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Formal Op. 82 (1989) (hereinafter, &lt;span&gt;CBA Formal Op. 82) (âA lawyerâ&lt;span&gt;&lt;/span&gt;s &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;right to assert a retaining lien is not absolute.  The right may be &lt;/div&gt;
&lt;div&gt;limited by legal and ethical considerations.â).&lt;span&gt;  &lt;span&gt;We are not bound by &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;these authorities&lt;span&gt;. &lt;/span&gt; &lt;span&gt;S&lt;span&gt;ee &lt;span&gt;Perez v. By the Rockies, LLC&lt;/span&gt;&lt;/span&gt;&lt;/span&gt;, 2023 COA 109, &lt;/div&gt;
&lt;div&gt;Â¶ 14, 543 P.3d 1054, 1056 (&lt;span&gt;cert. granted&lt;/span&gt; Aug. 19, 2024) (Although &lt;span&gt;&lt;/span&gt;a &lt;/div&gt;
&lt;div&gt;state court can consider federal decisions â&lt;span&gt;as &lt;span&gt;persuasive aut&lt;span&gt;&lt;/span&gt;hority, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pff" data-page-no="f"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;12 &lt;/div&gt;
&lt;div&gt;we are not bound by them when interpreting state statutes.&lt;span&gt;â); &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Gafcon, Inc. v. Ponsor &amp;amp; Assocs.&lt;span&gt;, 120 Cal. Rptr. 2d 392, 411 (Ct. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;App. 2002) (holding that courts are not bound by a state et&lt;span&gt;&lt;/span&gt;hics &lt;/div&gt;
&lt;div&gt;opinion).  Nonetheless, &lt;span&gt;Weinshienk&lt;/span&gt; and CBA Formal Op. 82 are &lt;/div&gt;
&lt;div&gt;persuasive authorities that we may consider.&lt;span&gt;  &lt;/span&gt;Ruebel does not cite &lt;/div&gt;
&lt;div&gt;any authority, from any jurisdiction, indicating that courts rigidly &lt;/div&gt;
&lt;div&gt;apply retaining lien statutes, such as section 13-&lt;span&gt;93&lt;/span&gt;-115, when &lt;/div&gt;
&lt;div&gt;application of the statute would result in an unjust or inequitable &lt;/div&gt;
&lt;div&gt;outcome.  &lt;/div&gt;
&lt;div&gt;Â¶ 28&lt;span&gt; &lt;span&gt;Contrary to Ruebelâs argument, we perceive no inconsistency &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;between the language of section 13-&lt;span&gt;93&lt;/span&gt;-115 and &lt;span&gt;a courtâs deci&lt;span&gt;&lt;/span&gt;sion &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;not to enforce a retaining lien to avoid this type of outcome.  The &lt;/div&gt;
&lt;div&gt;statute merely addresses how a retaining lien is created and &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;papers and moneys covered by such a lien: &lt;/div&gt;
&lt;div&gt;An attorney has a lien for a general balance of &lt;/div&gt;
&lt;div&gt;compensation upon any papers of his or her &lt;/div&gt;
&lt;div&gt;client that have come into his or her &lt;/div&gt;
&lt;div&gt;possession in the course of his or her &lt;/div&gt;
&lt;div&gt;professional employment and upon money due &lt;/div&gt;
&lt;div&gt;to his or her client in the hands of the adverse &lt;/div&gt;
&lt;div&gt;party in an action or proceeding in which the &lt;/div&gt;
&lt;div&gt;attorney was employed from the time of giving &lt;/div&gt;
&lt;div&gt;notice of the lien to that party. &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf10" data-page-no="10"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;13 &lt;/div&gt;
&lt;div&gt;Â§ 13-&lt;span&gt;93&lt;/span&gt;-115.  It does not speak to the circumstances under &lt;span&gt;&lt;/span&gt;which a &lt;/div&gt;
&lt;div&gt;retaining lien may, or may not, be enforced and does not sugge&lt;span&gt;&lt;/span&gt;st &lt;/div&gt;
&lt;div&gt;that a retaining lien is absolute.  &lt;span&gt;See&lt;/span&gt; &lt;span&gt;Antero Treatment LLC v.&lt;span&gt;&lt;/span&gt; Veolia &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Water Techs., Inc.&lt;span&gt;, 2023 CO 59, Â¶ 16, 546 P.3d 1140, &lt;span&gt;&lt;/span&gt;1146 &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(explaining that, to determine whether a statute and a court rule &lt;/div&gt;
&lt;div&gt;are inconsistent, the court must first â&lt;span&gt;determine whether the rule &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and statute irreconcilably conflict&lt;span&gt;â).&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 29&lt;span&gt; &lt;/span&gt;&lt;span&gt;Accordingly, we agree with the Tenth Circuit that, after a court &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;determines that an attorney has a retaining lien, the court mu&lt;span&gt;&lt;/span&gt;st &lt;/div&gt;
&lt;div&gt;also determine whether assertion of the lien is âin such c&lt;span&gt;&lt;/span&gt;onflict with &lt;/div&gt;
&lt;div&gt;important principles that it must be relinquished when balan&lt;span&gt;&lt;/span&gt;ced &lt;/div&gt;
&lt;div&gt;against considerations of public policy.â &lt;span&gt; &lt;span&gt;Weinshienk&lt;/span&gt;, 670 F.2d at &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;919; &lt;span&gt;cf. Jenkins&lt;/span&gt;&lt;span&gt;, &lt;span&gt;676 P.2d &lt;span&gt;at&lt;/span&gt;&lt;/span&gt;&lt;/span&gt; 1205 &lt;span&gt;(weighing the att&lt;span&gt;&lt;/span&gt;orneyâs interest &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;in his retaining lien against other interests, such as â&lt;span&gt;the highly &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;material nature of the subject of the lien, the implications of a &lt;/div&gt;
&lt;div&gt;lawyer&lt;span&gt;â&lt;/span&gt;&lt;span&gt;s duties toward his client, and the importance of prom&lt;span&gt;&lt;/span&gt;oting &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the truth-seeking functions of discovery rules&lt;span&gt;â).  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 30&lt;span&gt; &lt;/span&gt;&lt;span&gt;For example, as CBA Formal Opinion 82 notes, a court will not &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;en&lt;span&gt;force an attorney&lt;span&gt;âs&lt;/span&gt; retaining lien if (1) there is no legal basis f&lt;span&gt;&lt;/span&gt;or &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;asserting the lien; (2) the client who owes the fees furnishes &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf11" data-page-no="11"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;14 &lt;/div&gt;
&lt;div&gt;adequate security or posts an adequate bond; (3) &lt;span&gt;the clientâs papers &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;are essential to preserve an important personal libert&lt;span&gt;&lt;/span&gt;y interest of &lt;/div&gt;
&lt;div&gt;the client; or (4) the client is financially unable to post a bond or &lt;/div&gt;
&lt;div&gt;pay the attorney.  &lt;span&gt;See&lt;/span&gt; CBA Formal Op. 82; &lt;span&gt;Weinshienk&lt;/span&gt;, 670 F.2d at &lt;/div&gt;
&lt;div&gt;920.  The Ethics Committee opined that, while a âlawyer may &lt;/div&gt;
&lt;div&gt;ethically assert a retaining lien on a clientâs papers .&lt;span&gt; . . when &lt;span&gt;&lt;/span&gt;the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;client is financially able to pay outstanding fees, but f&lt;span&gt;&lt;/span&gt;ails or refuses &lt;/div&gt;
&lt;div&gt;to do so,â a &lt;span&gt;lawyer may &lt;span&gt;not &lt;/span&gt;assert a retaining lien &lt;/span&gt;if âthe client is &lt;/div&gt;
&lt;div&gt;financially &lt;span&gt;unable&lt;/span&gt; &lt;span&gt;to post a bond or pay the fees, unl&lt;span&gt;&lt;/span&gt;ess the clientâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;inability to pay or post bond is a result of fraud or gross im&lt;span&gt;&lt;/span&gt;position &lt;/div&gt;
&lt;div&gt;by the client.â  CBA Formal Op. 82 (emphasis added); &lt;span&gt;see also&lt;span&gt; ABA &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Comm. on Ethics &amp;amp; Pro. Resp., Informal Op. 1461 (1980) &lt;/div&gt;
&lt;div&gt;(hereinafter, ABA Informal Op. 1461), &lt;span&gt;withdrawn&lt;/span&gt;&lt;span&gt;,&lt;/span&gt;&lt;span&gt; &lt;/span&gt;ABA Comm. on &lt;/div&gt;
&lt;div&gt;Ethics &amp;amp; Pro. Resp., Informal Op. 86-1520 (1986).   &lt;/div&gt;
&lt;div&gt;Â¶ 31&lt;span&gt; &lt;/span&gt;&lt;span&gt;But even more fundamental questions are presented when an &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;attorney seeks to enforce a retaining lien: Is the party seeking t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;documents covered by the lien a client, a former client, &lt;span&gt;&lt;/span&gt;or a third &lt;/div&gt;
&lt;div&gt;party?  Relatedly, does the requesting party owe fees to t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;attorney?  Thus, in deciding whether to enforce a retaining lien, &lt;span&gt;&lt;/span&gt;a &lt;/div&gt;
&lt;div&gt;court should first determine the relationship between the party &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf12" data-page-no="12"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;15 &lt;/div&gt;
&lt;div&gt;seeking the documents and the attorney and whether the party &lt;/div&gt;
&lt;div&gt;against whom the lien is asserted owes any fees to the att&lt;span&gt;&lt;/span&gt;orney&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 32&lt;span&gt; &lt;/span&gt;&lt;span&gt;Different considerations apply in determining whether a client&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;or a third party is entitled to documents covered by a retaining lien. &lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;See, e.g.&lt;span&gt;,&lt;/span&gt; Weinshienk&lt;span&gt;, 670 F.2d at 920 (âIf the only interests at &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;stake . . . were those of the attorney and his . . . former clients, t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;div&gt;case would present no problem; the lien would be allowe&lt;span&gt;&lt;/span&gt;d to stand.  &lt;/div&gt;
&lt;div&gt;But also involved is [the third partyâs] interest .&lt;span&gt; . . in a speedy &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;re&lt;span&gt;solution of his claims.â); &lt;span&gt;Shaffer v. Charleston Area&lt;span&gt;&lt;/span&gt; Med. Ctr., Inc.&lt;span&gt;, &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;485 S.E.2d 12, 16 (W. Va. 199&lt;span&gt;7)&lt;/span&gt; (noting that &lt;span&gt;an â&lt;/span&gt;&lt;span&gt;attorney&lt;span&gt;â&lt;/span&gt;&lt;/span&gt;s lien &lt;span&gt;&lt;/span&gt;for &lt;/div&gt;
&lt;div&gt;professional services may not be enforced in equity against a &lt;/div&gt;
&lt;div&gt;stranger&lt;span&gt;â to the matter in which the lawyerâs services were &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;rendered).   &lt;/div&gt;
&lt;div&gt;Â¶ 33&lt;span&gt; &lt;/span&gt;&lt;span&gt;While the broad wording of section 13-&lt;span&gt;93&lt;/span&gt;-115 suggests that a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;retaining lien generally follows the files, and not the client,&lt;span&gt;&lt;/span&gt; under &lt;/div&gt;
&lt;div&gt;certain circumstances, it would be inequitable to deny a t&lt;span&gt;&lt;/span&gt;hird party &lt;/div&gt;
&lt;div&gt;access to the papers covered by the retaining lien.  &lt;span&gt;Cf. Weinshienk&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;670 F.2d at 920 &lt;span&gt;(âIf [the third party] needs something in t&lt;span&gt;&lt;/span&gt;he &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;[attorneyâs] file to prove his case [&lt;span&gt;against the debtor client], he can &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;get it by discovery or subpoena notwithstanding the att&lt;span&gt;&lt;/span&gt;orneyâs &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf13" data-page-no="13"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;16 &lt;/div&gt;
&lt;div&gt;retaining lien.â); &lt;span&gt;In re Garcia&lt;span&gt;, 69 B.R. 522, 525 (Bankr. E.D. Pa.) &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(comparing situations where courts have allowed attorneys t&lt;span&gt;&lt;/span&gt;o assert &lt;/div&gt;
&lt;div&gt;retaining liens against third parties with situations where it wo&lt;span&gt;&lt;/span&gt;uld &lt;/div&gt;
&lt;div&gt;be inequitable to do so), &lt;span&gt;affâd&lt;/span&gt;, 76 B.R. 68 (E.D. Pa. 1987), &lt;span&gt;a&lt;span&gt;&lt;/span&gt;ffâd&lt;span&gt;, 838 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;F.2d 460 (3d Cir. 1987) (unpublished table decision);&lt;span&gt;&lt;/span&gt; CBA Formal &lt;/div&gt;
&lt;div&gt;Op. 82 (â[A]n attorney who has asserted a lien may be c&lt;span&gt;&lt;/span&gt;ompelled to &lt;/div&gt;
&lt;div&gt;produce documents to the clientâs adversary, since it&lt;span&gt;&lt;/span&gt; would be &lt;/div&gt;
&lt;div&gt;inequitable to deny a litigant access to relevant and perhaps &lt;/div&gt;
&lt;div&gt;essential proof, merely because the opposing party had faile&lt;span&gt;&lt;/span&gt;d to pay &lt;/div&gt;
&lt;div&gt;attorneyâs fees.â).    &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 34&lt;span&gt; &lt;/span&gt;&lt;span&gt;In addition, we agree with the Norton parties that an &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;âattorneyâs ability to assert his lien can be waived or lost.â  &lt;/div&gt;
&lt;div&gt;MacFarlane&lt;span&gt;, 581 P.2d at 718.  Waiver is âthe intentional &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;relinquishment of a known right.â  &lt;span&gt;In re Marriage of Ka&lt;span&gt;&lt;/span&gt;nn&lt;span&gt;, 2017 &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;COA 94, Â¶ 55, 488 P.3d 245, 254.  An attorney exp&lt;span&gt;&lt;/span&gt;ressly waives a &lt;/div&gt;
&lt;div&gt;retaining lien by, for example, giving the former client&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;âunconditional assurances that the documents would be &lt;span&gt;&lt;/span&gt;returned.â  &lt;/div&gt;
&lt;div&gt;People v. Brown&lt;span&gt;, 840 P.2d 1085, 1088 (Colo. 1992).&lt;span&gt;&lt;/span&gt;  A waiver may &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;also âbe implied from a partyâs conduct if the conduct is free of &lt;/div&gt;
&lt;div&gt;ambiguity and clearly manifests the intent not to assert the &lt;span&gt;&lt;/span&gt;right.â  &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf14" data-page-no="14"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;17 &lt;/div&gt;
&lt;div&gt;Kann&lt;span&gt;, Â¶&lt;span&gt; 55, 488 P.3d at 254.  Further, an attorney may implicitly &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;waive a retaining lien by surrendering possession of files cove&lt;span&gt;&lt;/span&gt;red by &lt;/div&gt;
&lt;div&gt;the lien because the lien âdepends upon possession and attache&lt;span&gt;&lt;/span&gt;s &lt;/div&gt;
&lt;div&gt;only to papers actually in [the attorneyâs] possession.â  &lt;span&gt;Reynolds v. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Warner&lt;span&gt;, 258 N.W. 462, 464 (Neb. 1935) (applying Colorado law).&lt;span&gt;&lt;/span&gt;   &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;3.&lt;span&gt; &lt;span&gt;The Court Did Not Consider All Relevant Factors in &lt;span&gt;&lt;/span&gt;Deciding &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that the Norton Parties Were Not Entitled to the Subject Files &lt;/div&gt;
&lt;div&gt;Â¶ 35&lt;span&gt; &lt;/span&gt;&lt;span&gt;The Norton parties contend that the court erred by concluding &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that Ruebelâs retaining lien âbarred all discovery of [the subject &lt;/div&gt;
&lt;div&gt;files], that the lien was effective even though neither One Stop no&lt;span&gt;&lt;/span&gt;r &lt;/div&gt;
&lt;div&gt;[the Norton parties] could pay the lien amount, and that Ruebel did &lt;/div&gt;
&lt;div&gt;not waive his right to the lien when he produced documents from &lt;/div&gt;
&lt;div&gt;the file without mention of the lien.â&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 36&lt;span&gt; &lt;/span&gt;&lt;span&gt;We first note that the court did not determine the threshold &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;issue of whether the Norton parties were clients or former clients of &lt;/div&gt;
&lt;div&gt;Ruebel who owed attorney fees to him.  At oral argument,&lt;span&gt;&lt;/span&gt; counsel &lt;/div&gt;
&lt;div&gt;for the Norton parties suggested there &lt;span&gt;is&lt;/span&gt; an ongoing dispute as to &lt;/div&gt;
&lt;div&gt;whether they &lt;span&gt;were Ruebelâs clients, while counsel for Ruebel said &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;that the Norton parties became Ruebelâs clients &lt;span&gt;at the time of the &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf15" data-page-no="15"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;18 &lt;/div&gt;
&lt;div&gt;negotiations regarding the forbearance agreement following &lt;span&gt;&lt;/span&gt;One &lt;/div&gt;
&lt;div&gt;Stopâs default on the Bank of Colorado &lt;span&gt;line of credit.   &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 37&lt;span&gt; &lt;/span&gt;&lt;span&gt;But e&lt;span&gt;ven if the Norton parties were Ruebelâs clients at one &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;time, we cannot determine from the record whether they are lia&lt;span&gt;&lt;/span&gt;ble &lt;/div&gt;
&lt;div&gt;for any of Ruebelâs unpaid fees or whether One Stop alone i&lt;span&gt;&lt;/span&gt;s liable &lt;/div&gt;
&lt;div&gt;for those fees.&lt;span&gt;  &lt;/span&gt;Similarly, we cannot tell from the record whether &lt;/div&gt;
&lt;div&gt;any of Ruebelâs clients&lt;span&gt; (or former clients) in this case are financially &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;unable to pay Ruebelâs outstanding attorney fees&lt;span&gt; or post a bond or &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;whether their inability to pay or post &lt;span&gt;a &lt;/span&gt;bond is a result of f&lt;span&gt;&lt;/span&gt;raud or &lt;/div&gt;
&lt;div&gt;gross imposition.&lt;span&gt;  &lt;/span&gt;Without knowing these key facts, we cannot &lt;/div&gt;
&lt;div&gt;adjudicate whether the Norton parties are entitled to production &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;the subject files, even if Ruebel placed a retaining lien on them. &lt;/div&gt;
&lt;div&gt;Â¶ 38&lt;span&gt; &lt;/span&gt;&lt;span&gt;Second, w&lt;span&gt;e dispense with the Norton partiesâ waiver argument. &lt;span&gt;&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;They provide no authority suggesting that a waiver of a retainin&lt;span&gt;&lt;/span&gt;g &lt;/div&gt;
&lt;div&gt;lien as to some papers covered by the lien results in a waiver of &lt;span&gt;&lt;/span&gt;the &lt;/div&gt;
&lt;div&gt;lien as to the remaining papers.   &lt;/div&gt;
&lt;div&gt;Â¶ 39&lt;span&gt; &lt;span&gt;Because a retaining lien âdepends upon possession,â &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Reynolds&lt;span&gt;, 258 N.W. at 464, we hold that an attorney does not waive &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;a retaining lien in its entirety by releasing a portion of the f&lt;span&gt;&lt;/span&gt;iles &lt;/div&gt;
&lt;div&gt;covered by the lien to a client or a third party.&lt;span&gt;  &lt;/span&gt;Thus, Ruebel did not &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf16" data-page-no="16"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;19 &lt;/div&gt;
&lt;div&gt;waive his retaining lien on those portions of the subject files t&lt;span&gt;&lt;/span&gt;hat he &lt;/div&gt;
&lt;div&gt;did not produce to Michelle Norton &lt;span&gt;â&lt;/span&gt; even if Ruebel waived the &lt;/div&gt;
&lt;div&gt;retaining lien as to the 2020 documents by providing t&lt;span&gt;&lt;/span&gt;hem to her&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 40&lt;span&gt; &lt;span&gt;Additionally, Ruebelâs &lt;span&gt;designation of Jeffrey Clay Ruebel as a &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;non-&lt;span&gt;retained expert did not amount to conduct âfree of ambiguity &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and clearly manifest[ing]â Ruebelâs intent not to assert his &lt;span&gt;&lt;/span&gt;right to &lt;/div&gt;
&lt;div&gt;retain the subject files.  &lt;span&gt;Kann&lt;/span&gt;&lt;span&gt;, Â¶&lt;/span&gt; 55, 488 P.3d at 254.  For this &lt;/div&gt;
&lt;div&gt;reason, Ruebel did not waive his right to assert a retaining &lt;span&gt;&lt;/span&gt;lien on &lt;/div&gt;
&lt;div&gt;the subject files by designating Jeffrey Clay Ruebel as an expert. &lt;/div&gt;
&lt;div&gt;Â¶ 41&lt;span&gt; &lt;/span&gt;&lt;span&gt;In sum, we agree with the Norton parties that the court &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;misinterpreted the law when it analyzed the scope and applic&lt;span&gt;&lt;/span&gt;ability &lt;/div&gt;
&lt;div&gt;of Ruebelâs retaining lien.  Specifically, the court construed the &lt;/div&gt;
&lt;div&gt;following language in &lt;span&gt;Weinshienk &lt;span&gt;too narrowly: âAn exception is &lt;span&gt;&lt;/span&gt;also &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;recognized when the client is financially unable to post a b&lt;span&gt;&lt;/span&gt;ond or &lt;/div&gt;
&lt;div&gt;pay &lt;span&gt;â&lt;/span&gt; &lt;span&gt;in such cases the clientâs failure is not deliberate &lt;span&gt;and &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;requiring the client to pay may hinder its ability to secure ot&lt;span&gt;&lt;/span&gt;her &lt;/div&gt;
&lt;div&gt;representation&lt;span&gt;.â  &lt;/span&gt;Weinshienk&lt;span&gt;, 670 F.2d at 920 (emphasis a&lt;span&gt;&lt;/span&gt;dded).  &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Because the court found that the Norton parties did not ma&lt;span&gt;&lt;/span&gt;ke an &lt;/div&gt;
&lt;div&gt;âadequate representationâ that âthe inability to post a bond may &lt;/div&gt;
&lt;div&gt;hinder [their] ability to secure other representation,â &lt;span&gt;&lt;/span&gt;the court &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf17" data-page-no="17"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;20 &lt;/div&gt;
&lt;div&gt;concluded that none of the exceptions discussed in &lt;span&gt;Weinshienk &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;applied. &lt;/div&gt;
&lt;div&gt;Â¶ 42&lt;span&gt; &lt;/span&gt;&lt;span&gt;We do not read this dict&lt;span&gt;um&lt;/span&gt; in &lt;span&gt;Weinshienk&lt;/span&gt; to suggest that a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;clientâs inability to pay &lt;span&gt;can defeat a retaining lien only when it&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;hinders the clientâs ability to secure other representation. &lt;span&gt;&lt;/span&gt; Neither &lt;/div&gt;
&lt;div&gt;of the authorities that &lt;span&gt;Weinshienk &lt;/span&gt;cites for the inability-&lt;span&gt;to&lt;/span&gt;-pay &lt;/div&gt;
&lt;div&gt;exception involved a situation where the lien impeded an &lt;/div&gt;
&lt;div&gt;impecunious client from securing substitute representation. &lt;span&gt;&lt;/span&gt; &lt;span&gt;See &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;generally Hernandez v. Nierenberg&lt;span&gt;, 179 N.Y.S.2d 322, 324-&lt;span&gt;25&lt;/span&gt; (Sup. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Ct. 1958); ABA Informal Op. 1461.  Rather, the &lt;span&gt;Weinshienk&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;language illustrates but one non-exhaustive example of prejudice t&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;div&gt;a client that could result from the assertion &lt;span&gt;of&lt;/span&gt; a retaining lien &lt;span&gt;&lt;/span&gt;if the &lt;/div&gt;
&lt;div&gt;clientâs inability to pay the outstanding fees is not deliberate.  &lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 43&lt;span&gt; &lt;/span&gt;&lt;span&gt;Our reading of &lt;span&gt;Weinshienk&lt;/span&gt; is consistent with &lt;span&gt;CBA &lt;/span&gt;Formal Op. &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;82, which does not mention the clientâs ability to secure other &lt;/div&gt;
&lt;div&gt;representation when describing the inability-&lt;span&gt;to&lt;/span&gt;-pay exception.  &lt;/div&gt;
&lt;div&gt;Rather, it says only that an attorney may not ethically assert &lt;span&gt;&lt;/span&gt;a &lt;/div&gt;
&lt;div&gt;retaining lien when âthe client is financially unable to post a&lt;span&gt; bond &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;or pay, unless the clientâs inability to pay or post bond is a result&lt;span&gt;&lt;/span&gt; of &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf18" data-page-no="18"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;21 &lt;/div&gt;
&lt;div&gt;fraud or gross imposition by the client.â  CBA Formal Op. &lt;span&gt;&lt;/span&gt;82 &lt;/div&gt;
&lt;div&gt;(quoting &lt;span&gt;Weinshienk&lt;/span&gt;, 670 F.2d at 920)&lt;span&gt;.  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 44&lt;span&gt; &lt;/span&gt;&lt;span&gt;Because the court misinterpreted &lt;span&gt;Weinshienk&lt;/span&gt;, the court did &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;not fully consider or weigh the competing interests, ethical &lt;/div&gt;
&lt;div&gt;considerations, and considerations of public policy when it &lt;/div&gt;
&lt;div&gt;concluded that no exception to the retaining lien applie&lt;span&gt;&lt;/span&gt;d.  &lt;span&gt;See &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Weinshienk&lt;span&gt;, 670 F.2d at 919; &lt;/span&gt;Jenkins&lt;span&gt;, &lt;span&gt;676 P.2d &lt;span&gt;at&lt;/span&gt;&lt;span&gt; &lt;span&gt;&lt;/span&gt;1205; CBA &lt;/span&gt;&lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Formal Op. 82.  Those considerations include wheth&lt;span&gt;&lt;/span&gt;er the retaining &lt;/div&gt;
&lt;div&gt;lien is unenforceable &lt;span&gt;â&lt;/span&gt; even if the Norton parties owe attorney fee&lt;span&gt;&lt;/span&gt;s &lt;/div&gt;
&lt;div&gt;to Ruebel &lt;span&gt;â&lt;/span&gt; to avoid undue prejudice to the Norton parties in their &lt;/div&gt;
&lt;div&gt;litigation against Ruebel.  &lt;span&gt;See Marsh, Day &amp;amp; Calhoun v. Solomon&lt;/span&gt;&lt;span&gt;, &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;529 A.2d 702, 706 (Conn. 1987) &lt;span&gt;(â[B]&lt;/span&gt;arring unusual circumstance&lt;span&gt;&lt;/span&gt;s, &lt;/div&gt;
&lt;div&gt;such as prejudice to the rights of a client&lt;span&gt;, an attorney is under n&lt;span&gt;&lt;/span&gt;o &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;obligation to release the files of a client unless there has been &lt;/div&gt;
&lt;div&gt;payment, the furnishing of adequate security or, of course, &lt;span&gt;&lt;/span&gt;a &lt;/div&gt;
&lt;div&gt;mutually acceptable arrangement between the parties.&lt;span&gt;â) (emphasis &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;added);&lt;span&gt; &lt;span&gt;CBA Formal Op. 82 (noting that a withdrawing att&lt;span&gt;&lt;/span&gt;orney &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;should protect the welfare of the client by endeavoring to minimize &lt;/div&gt;
&lt;div&gt;the possibility of harm to the client); &lt;span&gt;see also Weinshienk&lt;/span&gt;, 670 F.&lt;span&gt;&lt;/span&gt;2d &lt;/div&gt;
&lt;div&gt;at 920 (explaining that inconvenience to the former clients âis t&lt;span&gt;&lt;/span&gt;he &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf19" data-page-no="19"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;22 &lt;/div&gt;
&lt;div&gt;essence &lt;span&gt;â&lt;/span&gt; the power and the bite &lt;span&gt;â&lt;/span&gt; &lt;span&gt;of the attorneyâs retaining lienâ &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;and that requiring a retaining lien to give way âbecause it ham&lt;span&gt;&lt;/span&gt;pers &lt;/div&gt;
&lt;div&gt;the clientsâ defense of their suit .&lt;span&gt; . . would emasculate the &lt;span&gt;&lt;/span&gt;retaining &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;lien as it applies to general balances owed att&lt;span&gt;orneysâ).&lt;/span&gt;&lt;span&gt;  &lt;/span&gt;There is &lt;span&gt;a &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;material distinction between an action that materially prejudice&lt;span&gt;&lt;/span&gt;s a &lt;/div&gt;
&lt;div&gt;former client and one that merely caus&lt;span&gt;es&lt;/span&gt; inconvenience or ham&lt;span&gt;&lt;/span&gt;pers &lt;/div&gt;
&lt;div&gt;the former &lt;span&gt;clientâs defense&lt;/span&gt;&lt;span&gt;.&lt;/span&gt;&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;div&gt;Â¶ 45&lt;span&gt; &lt;/span&gt;&lt;span&gt;The factual findings and inquiries pertinent to this analysis &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;include  &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;whether the Norton parties, in their individual capacities &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;(the capacities in which they filed this action), were &lt;/div&gt;
&lt;div&gt;clients of Ruebel for purposes of the retaining lien &lt;/div&gt;
&lt;div&gt;analysis; &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;whether the Norton parties, or only One Stop, owe Ruebel &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the attorney fees that are the subject of the retaining lien; &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;whether Ruebelâs assertion of the retaining lien against &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the Norton parties is necessary to protect Ruebelâs &lt;/div&gt;
&lt;div&gt;interest in receiving payment for the outstanding legal &lt;/div&gt;
&lt;div&gt;fees;  &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf1a" data-page-no="1a"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;23 &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;the value of Ruebelâs interest in the lien and whether &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;whichever clients or former clients of Ruebel owe the &lt;/div&gt;
&lt;div&gt;subject attorney fees are able to pay them or to post a &lt;/div&gt;
&lt;div&gt;bond that would adequately secure Ruebelâs interest&lt;span&gt;&lt;/span&gt; in &lt;/div&gt;
&lt;div&gt;payment;  &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;whether enforcing the retaining lien against the Nort&lt;span&gt;on&lt;/span&gt; &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;parties would materially prejudice their ability to litigate &lt;/div&gt;
&lt;div&gt;against Ruebel in this action; and &lt;/div&gt;
&lt;div&gt;â¢&lt;span&gt; &lt;span&gt;whether doing so may materially prejudi&lt;span&gt;ce&lt;/span&gt; the Norton &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;partiesâ ability to cross&lt;span&gt;-examine Jeffrey Clay Ruebel in &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;his capacity as an expert witness.   &lt;/div&gt;
&lt;div&gt;See Jenkins&lt;span&gt;, 676 P.2d at 1204 (requiring production&lt;span&gt;&lt;/span&gt; of documents &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;in the attorneyâs file &lt;span&gt;notwithstanding a retaining lien covering &lt;span&gt;&lt;/span&gt;the &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;documents in an action involving an attorney fees dispute).   &lt;/div&gt;
&lt;div&gt;Â¶ 46&lt;span&gt; &lt;/span&gt;&lt;span&gt;While Ruebel bears the burden of establishing the existence of &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;the retaining lien, &lt;span&gt;see &lt;span&gt;In re Marriage of Mitchell&lt;/span&gt;&lt;/span&gt;, 55 P.3d 183, 185 &lt;/div&gt;
&lt;div&gt;(Colo. App. 2002), the Norton parties bear the burden &lt;span&gt;&lt;/span&gt;of showing &lt;/div&gt;
&lt;div&gt;that &lt;span&gt;assertion of the lien is âin such conflict with important &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;principles that it must be relinquished when balanced against &lt;/div&gt;
&lt;div&gt;considerations of public policy.â  &lt;span&gt;Weinshienk&lt;/span&gt;&lt;span&gt;, 670 F.2d at 91&lt;span&gt;&lt;/span&gt;9; &lt;span&gt;cf. &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf1b" data-page-no="1b"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;24 &lt;/div&gt;
&lt;div&gt;Pomerantz&lt;span&gt;, 704 F.2d at 683 (requiring the client t&lt;span&gt;&lt;/span&gt;o make a clear &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;showing of âhis inability to pay the legal fees or post a rea&lt;span&gt;&lt;/span&gt;sonable &lt;/div&gt;
&lt;div&gt;bondâ).&lt;span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 47&lt;span&gt; &lt;/span&gt;&lt;span&gt;Thus, on remand, the court must reconsider the Norton &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;partiesâ requests for the subject files&lt;span&gt;, consistent with this opinion&lt;span&gt;.  &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;The court may, in its discretion, order supplemental briefing,&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;conduct an evidentiary hearing, or take such other steps that &lt;span&gt;&lt;/span&gt;would &lt;/div&gt;
&lt;div&gt;aid the court in determining whether Ruebelâs retaining lien &lt;span&gt;&lt;/span&gt;bars &lt;/div&gt;
&lt;div&gt;production of the subject files to the Norton parties.   &lt;/div&gt;
&lt;div&gt;B.&lt;span&gt; &lt;span&gt;The Grant of Summary Judgment to Ruebel &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;1.&lt;span&gt; &lt;span&gt;Standard of Review and the Law Governing Grants of &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Summary Judgment &lt;/div&gt;
&lt;div&gt;Â¶ 48&lt;span&gt; &lt;/span&gt;&lt;span&gt;We review a grant of summary judgment de novo.  &lt;span&gt;Rocky &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Mountain Planned Parenthood, Inc. &lt;span&gt;v.&lt;/span&gt; Wagner&lt;span&gt;, 2020 CO 51, Â¶ 42,&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;467 P.3d 287, 295.  &lt;span&gt;Summary judgment is proper âif &lt;span&gt;&lt;/span&gt;the &lt;span&gt;pleadings, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;depositions, answers to interrogatories, and admissions on file,&lt;span&gt;&lt;/span&gt; &lt;/div&gt;
&lt;div&gt;together with the affidavits, if any, show that there is no genuin&lt;span&gt;&lt;/span&gt;e &lt;/div&gt;
&lt;div&gt;issue as to any material fact and that the moving party is &lt;span&gt;&lt;/span&gt;entitled to &lt;/div&gt;
&lt;div&gt;a judgment as a matter of law.â&lt;span&gt;  C.R.C.P. 56(c).  &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf1c" data-page-no="1c"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;25 &lt;/div&gt;
&lt;div&gt;Â¶ 49&lt;span&gt; &lt;span&gt;âThe burden of establishing the nonexistence of a genuine &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;issue of material fact is on the moving party.â&lt;span&gt;  &lt;span&gt;Contâl Air Lines, &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Inc. v. Keenan&lt;span&gt;, 731 P.2d 708, 712 (Colo. 1987).  &lt;span&gt;âIn a case where a &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;party moves for summary judgment on an issue on which &lt;span&gt;&lt;/span&gt;[it] would &lt;/div&gt;
&lt;div&gt;not bear the burden of persuasion at trial, [its] initial burden &lt;span&gt;&lt;/span&gt;of &lt;/div&gt;
&lt;div&gt;production may be satisfied by showing the court that &lt;span&gt;&lt;/span&gt;there is an &lt;/div&gt;
&lt;div&gt;absence of evidence in the record to s&lt;span&gt;upport the nonmoving pa&lt;span&gt;&lt;/span&gt;rtyâs &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;case.â&lt;span&gt;  &lt;span&gt;Id. &lt;/span&gt; &lt;span&gt;âOnce the moving party has met this init&lt;/span&gt;ial burden of&lt;span&gt;&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;production, the burden shifts to the nonmoving party to &lt;span&gt;&lt;/span&gt;establish &lt;/div&gt;
&lt;div&gt;that there is a triable issue of fact.â&lt;span&gt;  &lt;span&gt;Id.&lt;/span&gt; at 713.  &lt;/span&gt;âIf the nonmoving &lt;/div&gt;
&lt;div&gt;party cannot muster sufficient evidence to make out a t&lt;span&gt;&lt;/span&gt;riable issue &lt;/div&gt;
&lt;div&gt;of fact on his claim, a trial would be useless and the moving &lt;span&gt;&lt;/span&gt;party is &lt;/div&gt;
&lt;div&gt;entitled to summary judgment as a matter of law.â&lt;span&gt;  &lt;span&gt;Id.&lt;/span&gt; &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 50&lt;span&gt; &lt;span&gt;âIn considering whether summary judgment is appropriate, a &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;court grants the nonmoving party the benefit of all favora&lt;span&gt;&lt;/span&gt;ble &lt;/div&gt;
&lt;div&gt;inferences that may reasonably be drawn from the undis&lt;span&gt;&lt;/span&gt;puted facts &lt;/div&gt;
&lt;div&gt;and resolves all doubts against the moving party.â&lt;span&gt;  &lt;span&gt;Rocky Mounta&lt;span&gt;&lt;/span&gt;in &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Planned Parenthood, Inc.&lt;span&gt;, Â¶ 20, 467 P.3d at 291. &lt;/span&gt;
&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
&lt;div data-data='{"ctm":[1.277778,0.000000,0.000000,1.277778,0.000000,0.000000]}'&gt;&lt;/div&gt;
&lt;/div&gt;
&lt;div id="pf1d" data-page-no="1d"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;26 &lt;/div&gt;
&lt;div&gt;2.&lt;span&gt; &lt;span&gt;We Reverse the Grant of Summary Judgment to Ruebel &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Because We Are Remanding the Case for &lt;/div&gt;
&lt;div&gt;a Redetermination of Whether the Norton Parties Are Ent&lt;span&gt;&lt;/span&gt;itled &lt;/div&gt;
&lt;div&gt;to the Subject Files &lt;/div&gt;
&lt;div&gt;Â¶ 51&lt;span&gt; &lt;/span&gt;&lt;span&gt;Because we are remanding the case for further proceedings on &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;whether Ruebel is entitled to withhold the subject files from the &lt;/div&gt;
&lt;div&gt;Norton parties, we cannot say there are no disputed issues of &lt;/div&gt;
&lt;div&gt;material fact regarding whether Ruebelâs actions caused the &lt;/div&gt;
&lt;div&gt;damages that the Norton parties seek to recover in this action.&lt;span&gt;  &lt;/span&gt;If, &lt;/div&gt;
&lt;div&gt;after conducting the analysis of Ruebelâs retaining lien &lt;span&gt;outlined &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;above, the court concludes that the Norton parties are entitled t&lt;span&gt;&lt;/span&gt;o &lt;/div&gt;
&lt;div&gt;obtain the subject files, the Norton parties will be able to &lt;span&gt;&lt;/span&gt;scour the &lt;/div&gt;
&lt;div&gt;subject files for documents that may support their causation &lt;span&gt;&lt;/span&gt;theory &lt;/div&gt;
&lt;div&gt;or any of the other elements of their claims against Ruebel.  Any &lt;/div&gt;
&lt;div&gt;su&lt;span&gt;ch documents may be relevant to &lt;span&gt;th&lt;/span&gt;&lt;span&gt;e merit of the Norton partiesâ &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;claims. &lt;/div&gt;
&lt;div&gt;Â¶ 52&lt;span&gt; &lt;/span&gt;&lt;span&gt;Alternatively, the court may determine that, even after &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;undertaking the proper analysis, the Norton parties are not ent&lt;span&gt;&lt;/span&gt;itled &lt;/div&gt;
&lt;div&gt;to any of the subject files.  And even if the court decides that the &lt;/div&gt;
&lt;div&gt;Norton parties are entitled to the subject files, no document&lt;span&gt;&lt;/span&gt;s in &lt;/div&gt;
&lt;div&gt;those files may &lt;span&gt;support the Norton partiesâ claims.  &lt;/span&gt;If so, Ruebel &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;/div&gt;
&lt;div id="pf1e" data-page-no="1e"&gt;
&lt;div&gt;&lt;div&gt;
&lt;div&gt; &lt;/div&gt;
&lt;div&gt;27 &lt;/div&gt;
&lt;div&gt;could refile his motion for summary judgment or such other &lt;/div&gt;
&lt;div&gt;dispositive motion he believes is appropriate.  We express no &lt;/div&gt;
&lt;div&gt;opinion on the merits of any such motion. &lt;/div&gt;
&lt;div&gt;III.&lt;span&gt; &lt;span&gt;Disposition &lt;/span&gt;&lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;Â¶ 53&lt;span&gt; &lt;/span&gt;&lt;span&gt;We reverse the grant of summary judgment to Ruebel and &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;remand to the court for reconsideration of &lt;span&gt;the Norton partiesâ &lt;/span&gt;
&lt;/div&gt;
&lt;div&gt;requests for the subject files, consistent with this opinion. &lt;/div&gt;
&lt;div&gt;JUDGE FREYRE and JUDGE SCHUTZ concur.&lt;span&gt;  &lt;/span&gt; &lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;
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&lt;/div&gt;
&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;&lt;/div&gt;
